5/11/23, 5:02 PM                   Case 8:23-bk-10898-TA 8:08-bk-12163
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                                                                       - Jeffrey Scott 05/11/23        Entered
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                                               8:08-bk-12163 - Jeffrey Scott Beier and Toni Renita Beier

                                                                                                                       Docket Header Last Updated: 5/11/2023 2:56 pm

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                                                                          U.S. Bankruptcy Court
                                                                Central District of California (Santa Ana)
                                                                Bankruptcy Petition #: 8:08-bk-12163-RK
                                                                                                                                      Date filed: 04/25/2008
     Assigned to: Robert N. Kwan                                                                                              Date terminated: 01/13/2009
     Chapter 7                                                                                                                Date discharged: 08/21/2008
     Voluntary                                                                                                              341 meeting: 07/16/2008
     No asset                                                                                         Deadline for objecting to discharge: 08/04/2008
     Claims Register

     Debtor                                                                                              represented by R Gibson Pagter, Jr.
     Jeffrey Scott Beier                                                                                                Pagter and Miller
     27881 La Paz Rd Ste G                                                                                              525 N Cabrillo Pk Dr Ste 104
     Laguna Niguel, CA 92677                                                                                                 Santa Ana, CA 92701
     ORANGE-CA                                                                                                               714-541-6072
     SSN / ITIN: xxx-xx-0875                                                                                                 Fax : 714-541-6897
                                                                                                                             Email: gibson@pagterandmiller.com




https://v2.courtdrive.com/cases/pacer/cacbke/8:08-bk-12163/dockets                                                                                 Exhibit 5           1/8
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                                                            Doc 22-5          Filed
                                                                       - Jeffrey Scott 05/11/23        Entered
                                                                                       Beier and Toni Renita        05/11/23 15:00:50
                                                                                                             Beier (Bankr.C.D.Cal.) | CourtDrive Desc
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     Joint Debtor                                                                                                           represented by R Gibson Pagter, Jr.
     Toni Renita Beier                                                                                                                     (See above for address)
     1202 Avenida Buena Suerte
     San Clemente, CA 92672
     ORANGE-CA
     SSN / ITIN: xxx-xx-3476
     aka Toni Cook
     aka Toni Gallucci


     Trustee                                                                                                                represented by John M Wolfe
     John M Wolfe (TR)                                                                                                                               5450 Trabuco Road
     5450 Trabuco Road                                                                                                                               Irvine, CA 92620-5704
     Irvine, CA 92620-5704                                                                                                                           (800) 436-4646
     (800) 436-4646                                                                                                                                  Email: john.wolfe1@earthlink.net


     U.S. Trustee
     United States Trustee (SA)
     411 W Fourth St., Suite 7160
     Santa Ana, CA 92701-4593
     (714) 338-3400



     Date Filed           #      Docket Text



     04/25/2008            1     Chapter 7 Voluntary Petition . Fee Amount $299 Filed by Jeffrey Scott Beier, Toni Renita Beier (Pagter, R). CORRECTION: A case deficient re: Certificate of Credit Counseling (for
                                 Joint Debtor Beier, Toni Renita) due 5/12/2008. Incomplete Filing due 5/12/2008. Section 316 Incomplete Filing due 6/10/2008. Modified on 4/28/2008 (Nguyen, Vi). Additional
                                 attachment(s) added on 4/28/2008 (Nguyen, Vi). (Entered: 04/25/2008)




https://v2.courtdrive.com/cases/pacer/cacbke/8:08-bk-12163/dockets                                                                                                               Exhibit 5                            2/8
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                                                            Doc 22-5          Filed
                                                                       - Jeffrey Scott 05/11/23        Entered
                                                                                       Beier and Toni Renita        05/11/23 15:00:50
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     04/25/2008                  Receipt of Voluntary Petition (Chapter 7)(8:08-bk-12163) [misc,volp7] ( 299.00) Filing Fee. Receipt number 4769651. Fee amount 299.00. (U.S. Treasury) (Entered: 04/25/2008)


     04/25/2008            2     Certificate of Credit Counseling Filed by Debtor Jeffrey Scott Beier. (Pagter, R) (Entered: 04/25/2008)


     04/25/2008            3     Meeting of Creditors with 341(a) meeting to be held on 06/04/2008 at 02:00 PM at RM 3-110, 411 W Fourth St., Santa Ana, CA 92701. Objections for Discharge due by
                                 08/04/2008. (Pagter, R) (Entered: 04/25/2008)


     04/28/2008            4     Notice of Requirement to Complete Course in Financial Management (BNC) . (Nguyen, Vi) (Entered: 04/28/2008)


     04/29/2008            5     Certificate of Credit Counseling Filed by Joint Debtor Toni Renita Beier (RE: related document(s)1, Voluntary Petition (Chapter 7)). (Pagter, R) (Entered: 04/29/2008)


     04/30/2008            6     BNC Certificate of Service (RE: related document(s)3 , Meeting (Chapter 7)) No. of Notices: 140. Service Date 04/30/2008. (Admin.) (Entered: 04/30/2008)


     04/30/2008            7     BNC Certificate of Service (RE: related document(s)4 , Notice of Requirement to Complete Course in Financial Management (BNC)) No. of Notices: 5. Service Date 04/30/2008.
                                 (Admin.) (Entered: 04/30/2008)


     05/07/2008            8     Notice of Change of Address for joint debtor only with proof of service Filed by Joint Debtor Toni Renita Beier. (Pagter, R) (Entered: 05/07/2008)


     05/12/2008            9     Request for special notice with Proof of service Filed by Creditor Mortgage Electronic Registration Systems, Inc. (MERS). (Domeyer, Mark) (Entered: 05/12/2008)


     05/12/2008           10     Notice of motion and motion for relief from the automatic stay with supporting declarations REAL PROPERTY RE: 10 TUCSON COTO DE CAZA AREA, CA 92679 . Fee Amount
                                 $150, Filed by Creditor Mortgage Electronic Registration Systems, Inc. (MERS) (Attachments: 1 Exhibit) (Domeyer, Mark) (Entered: 05/12/2008)


     05/12/2008                  Receipt of Motion for Relief from Stay - Real Property(8:08-bk-12163-RK) [motion,nmrp] ( 150.00) Filing Fee. Receipt number 4887889. Fee amount 150.00. (U.S. Treasury)
                                 (Entered: 05/12/2008)


     05/12/2008                  Hearing Set (RE: related document(s)10 , Motion for Relief from Stay - Real Property filed by Creditor Mortgage Electronic Registration Systems, Inc. (MERS)) Hearing to be held
                                 on 6/10/2008 at 03:30 PM Crtrm 5D, 411 W Fourth St., Santa Ana, CA 92701 for 10, (Kent, Susan) (Entered: 05/16/2008)


     05/14/2008           11     Notice of motion and motion for relief from the automatic stay with supporting declarations PERSONAL PROPERTY RE: 2003 MERCEDES-BENZ S500; VIN
                                 WDBNG84J63A342259 . Fee Amount $150, Filed by Creditor DCFS USA, LLC SUCCESSOR TO DAIMLERCHRYSLER FINANCIAL SERVICES AMERICAS, LLC (Attachments: 1
                                 Exhibit A-C) (Patton, John) (Entered: 05/14/2008)




https://v2.courtdrive.com/cases/pacer/cacbke/8:08-bk-12163/dockets                                                                                                                Exhibit 5                         3/8
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                                                                       - Jeffrey Scott 05/11/23        Entered
                                                                                       Beier and Toni Renita        05/11/23 15:00:50
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     05/14/2008                  Receipt of Motion for Relief from Stay - Personal Property(8:08-bk-12163-RK) [motion,nmpp] ( 150.00) Filing Fee. Receipt number 4909465. Fee amount 150.00. (U.S.
                                 Treasury) (Entered: 05/14/2008)


     05/14/2008                  Hearing Set (RE: related document(s)11 , Motion for Relief from Stay - Personal Property filed by Creditor DCFS USA, LLC SUCCESSOR TO DAIMLERCHRYSLER FINANCIAL
                                 SERVICES AMERICAS, LLC) Hearing to be held on 6/10/2008 at 03:30 PM Crtrm 5D, 411 W Fourth St., Santa Ana, CA 92701 for 11, (Mccall, Audrey) (Entered: 05/14/2008)


     05/29/2008           12     Request for special notice Filed by Creditor American Express Bank FSB. (Weisman, Gilbert) (Entered: 05/29/2008)



     06/07/2008           13     341 Meeting of Creditors scheduled on 6/4/2008. Meeting continued to 6/25/2008 at 1:00 PM at RM 3-110, 411 W Fourth St., Santa Ana, CA 92701. (Wolfe, John) (Entered:
                                 06/07/2008)


     06/07/2008           14     Continuance of Meeting of Creditors Filed by Trustee John M Wolfe. 341(a) meeting to be held on 6/25/2008 at 01:00 PM at RM 3-110, 411 W Fourth St., Santa Ana, CA
                                 92701. (Wolfe, John) (Entered: 06/07/2008)


     06/10/2008                  Hearing Continued (RE: related document(s)10 , Motion for Relief from Stay - Real Property filed by Creditor Mortgage Electronic Registration Systems, Inc. (MERS)) Hearing to
                                 be held on 6/24/2008 at 03:30 PM Crtrm 5D, 411 W Fourth St., Santa Ana, CA 92701 for 10, (cr: stei) (Kent, Susan) (Entered: 06/12/2008)


     06/10/2008                  Hearing Continued (RE: related document(s)11 , Motion for Relief from Stay - Personal Property filed by Creditor DCFS USA, LLC SUCCESSOR TO DAIMLERCHRYSLER
                                 FINANCIAL SERVICES AMERICAS, LLC) Hearing to be held on 7/8/2008 at 03:30 PM Crtrm 5D, 411 W Fourth St., Santa Ana, CA 92701 for 11, (cr: stei) (Kent, Susan) (Entered:
                                 06/12/2008)


     06/11/2008           15     Notice of Hearing Continuance of Motion for Relief from the Automatic Stay by DCFS Trust with proof of service Filed by Debtor Jeffrey Scott Beier, Joint Debtor Toni Renita Beier
                                 (RE: related document(s)11 Notice of motion and motion for relief from the automatic stay with supporting declarations PERSONAL PROPERTY RE: 2003 MERCEDES-BENZ
                                 S500; VIN WDBNG84J63A342259 . Fee Amount $150, Filed by Creditor DCFS USA, LLC SUCCESSOR TO DAIMLERCHRYSLER FINANCIAL SERVICES AMERICAS, LLC
                                 (Attachments: # 1 Exhibit A-C) (Patton, John)). Hearing to be held on 7/8/2008 at 03:30 PM Crtrm 5D, 411 W Fourth St., Santa Ana, CA 92701 for 11, (Pagter, R) (Entered:
                                 06/11/2008)


     06/12/2008           16     Notice of Hearing Continued Filed by Creditor Mortgage Electronic Registration Systems, Inc. (MERS) (RE: related document(s)10 Notice of motion and motion for relief from the
                                 automatic stay with supporting declarations REAL PROPERTY RE: 10 TUCSON COTO DE CAZA AREA, CA 92679 . Fee Amount $150, Filed by Creditor Mortgage Electronic
                                 Registration Systems, Inc. (MERS) (Attachments: # 1 Exhibit) (Domeyer, Mark)). Hearing to be held on 6/24/2008 at 03:30 PM Crtrm 5D, 411 W Fourth St., Santa Ana, CA
                                 92701 for 10, (Domeyer, Mark) (Entered: 06/12/2008)


     06/23/2008           17     Supplemental Memorandum of Mortgage Electronic Registration Systems, Inc. in support of Motion for Relief from Stay Filed by Creditor Mortgage Electronic Registration
                                 Systems, Inc. (MERS). (Domeyer, Mark) (Entered: 06/23/2008)




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     06/24/2008           18     Request for special notice Alex Vu Filed by Creditor BANKRUPTCY DEPT WELLS FARGO & COMPANY. (Vu, Alex) (Entered: 06/24/2008)


     06/24/2008                  Hearing Continued (RE: related document(s)10 , Motion for Relief from Stay - Real Property filed by Creditor Mortgage Electronic Registration Systems, Inc. (MERS)) Hearing to
                                 be held on 7/15/2008 at 03:30 PM Crtrm 5D, 411 W Fourth St., Santa Ana, CA 92701 - (cr: Stein) (Ngo, Kim) (Entered: 07/03/2008)


     06/27/2008           19     Notice of Hearing Continued Filed by Creditor Mortgage Electronic Registration Systems, Inc. (MERS) (RE: related document(s)10 Notice of motion and motion for relief from the
                                 automatic stay with supporting declarations REAL PROPERTY RE: 10 TUCSON COTO DE CAZA AREA, CA 92679 . Fee Amount $150, Filed by Creditor Mortgage Electronic
                                 Registration Systems, Inc. (MERS) (Attachments: # 1 Exhibit) (Domeyer, Mark)). Hearing to be held on 7/15/2008 at 03:30 PM Crtrm 5D, 411 W Fourth St., Santa Ana, CA
                                 92701 for 10, (Domeyer, Mark) (Entered: 06/27/2008)


     07/01/2008           20     Debtor(s) DID NOT Appear. 341 Meeting of Creditors scheduled on 6/25/2008. Meeting continued to 7/16/2008 at 1:00 PM at RM 3-110, 411 W Fourth St., Santa Ana, CA
                                 92701. (Wolfe, John) (Entered: 07/01/2008)


     07/01/2008           21     Continuance of Meeting of Creditors Filed by Trustee John M Wolfe. 341(a) meeting to be held on 7/16/2008 at 01:00 PM at RM 3-110, 411 W Fourth St., Santa Ana, CA
                                 92701. (Wolfe, John) (Entered: 07/01/2008)


     07/03/2008           22     Opposition to (related document(s): 10 Notice of motion and motion for relief from the automatic stay with supporting declarations REAL PROPERTY RE: 10 TUCSON COTO DE
                                 CAZA AREA, CA 92679 . Fee Amount $150, filed by Creditor Mortgage Electronic Registration Systems, Inc. (MERS)) Opposition by Debtors to Motion for Relief from the
                                 Automatic Stay by MERS; Declaratioin of R. Gibson Pagter, Jr. with proof of service Filed by Debtor Jeffrey Scott Beier, Joint Debtor Toni Renita Beier (Pagter, R) (Entered:
                                 07/03/2008)


     07/03/2008           23     Statement of Intent. (Amended) with proof of service Filed by Debtor Jeffrey Scott Beier, Joint Debtor Toni Renita Beier. (Pagter, R) (Entered: 07/03/2008)


     07/08/2008                  Hearing Continued (RE: related document(s)10 , Motion for Relief from Stay - Real Property filed by Creditor Mortgage Electronic Registration Systems, Inc. (MERS)) Hearing to
                                 be held on 7/15/2008 at 03:30 PM Crtrm 5D, 411 W Fourth St., Santa Ana, CA 92701 for 10, (cr: mcca) (Kent, Susan) (Entered: 07/09/2008)


     07/08/2008                  Hearing Held - Stipulation for adequate protection (cr: mcca) (RE: related document(s)11 , Motion for Relief from Stay - Personal Property filed by Creditor DCFS USA, LLC
                                 SUCCESSOR TO DAIMLERCHRYSLER FINANCIAL SERVICES AMERICAS, LLC) (Kent, Susan) (Entered: 07/09/2008)


     07/09/2008           24     Notice of Continuance of Motion for Relief from the Automatic Stay by MERS Filed by Debtor Jeffrey Scott Beier, Joint Debtor Toni Renita Beier. (Pagter, R)CORRECTION:
                                 Incorrect event code used. Correct event code is Notice of Hearing. Modified on 7/10/2008 (Steinberg, Elizabeth). (Entered: 07/09/2008)


     07/10/2008           25     Reaffirmation Agreement Between Debtor and DCFS USA LLC successor to DaimlerChrysler Financial Services Americas, LLC. Filed by Creditor DCFS USA, LLC SUCCESSOR
                                 TO DAIMLERCHRYSLER FINANCIAL SERVICES AMERICAS, LLC. (Wang, Jennifer) (Entered: 07/10/2008)




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     07/15/2008                  Hearing Held (RE: related document(s)10 , Motion for Relief from Stay - Real Property filed by Creditor Mortgage Electronic Registration Systems, Inc. (MERS)) - STIPULATION
                                 FOR ADEQUATE PROTECTION - (cr:hana) (Bolte, Nickie) (Entered: 07/17/2008)


     07/16/2008           26     Meeting of Creditors Held and Concluded on 7/16/2008. Trustee's Report of No Assets: Trustee of this estate reports and declares under penalty of perjury that the section 341a
                                 Meeting of Creditors has been held and certifies that the trustee has performed the duties required of a trustee under 11 U.S.C. 704 and has concluded that there are no assets
                                 to administer for the benefit of creditors of this estate. The trustee received no funds or property of the estate and paid no monies on account of the estate. Wherefore, the
                                 trustee prays that this report be approved and the trustee be discharged from office. Notes: (Wolfe, John) (Entered: 07/16/2008)


     07/21/2008           27     Financial Management Course Certificate Filed with proof of service Filed by Debtor Jeffrey Scott Beier, Joint Debtor Toni Renita Beier. (Pagter, R) (Entered: 07/21/2008)


     07/28/2008           28     Amendment to List of Creditors. Fee Amount $26, Verification of creditor matrix (Amended) with proof of service Filed by Debtor Jeffrey Scott Beier, Joint Debtor Toni Renita
                                 Beier. (Pagter, R) (Entered: 07/28/2008)


     07/28/2008                  Receipt of Amended Creditor Matrix (Fee)(8:08-bk-12163-RK) [misc,amdcm] ( 26.00) Filing Fee. Receipt number 5479112. Fee amount 26.00. (U.S. Treasury) (Entered:
                                 07/28/2008)


     07/28/2008           29     Schedule F (Amended) with proof of service (See docket#28 for fees paid) Filed by Debtor Jeffrey Scott Beier, Joint Debtor Toni Renita Beier. (Pagter, R) (Entered: 07/28/2008)



     08/01/2008           30     Order Granting Motion for relief from the automatic stay PERSONAL PROPERTY (BNC-PDF)[2003 Mercedes Benz S500 Vin#WDBNG84J63A342259; with notice of entry
                                 attached (Related Doc # 11) Signed on 8/1/2008. (Kent, Susan) (Entered: 08/04/2008)


     08/21/2008           31     DISCHARGE OF DEBTOR (BNC) (RE: related document(s)3 , Meeting (Chapter 7)) (Beezer, Cynthia) (Entered: 08/21/2008)



     08/23/2008           32     BNC Certificate of Service (RE: related document(s)31 , DISCHARGE OF DEBTOR - Chapter 7 (BNC)) No. of Notices: 160. Service Date 08/23/2008. (Admin.) (Entered:
                                 08/23/2008)


     09/05/2008           33     Schedule B (Amended) with proof of service Filed by Debtor Jeffrey Scott Beier, Joint Debtor Toni Renita Beier. (Pagter, R) (Entered: 09/05/2008)


     09/15/2008           34     Motion for Approval of Reaffirmation Agreement with Telesis Community Credit Union Filed by Creditor Telesis Community Credit Union (Goldstein, Jason)[CIAN Judge's
                                 insructions: Set for hearing - no atty review - presumption of undue hardship] Modified on 9/18/2008 (Mccall, Audrey). Modified on 9/18/2008 (Mccall, Audrey). (Entered:
                                 09/15/2008)


     09/16/2008           35     Withdrawal re: Filed by Creditor Telesis Community Credit Union (RE: related document(s)34 Motion for Approval of Reaffirmation Agreement with Telesis Community Credit
                                 Union ). (Goldstein, Jason) (Entered: 09/16/2008)




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                                                                       - Jeffrey Scott 05/11/23        Entered
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     09/16/2008           36     Reaffirmation Agreement Between Debtor and Telesis Community Credit Union Filed by Creditor Telesis Community Credit Union. (Goldstein, Jason)CIAN Judge's instructions:
                                 Set for hearing - Debtors appearing pro se on reaffirmation] Modified on 9/25/2008 (Mccall, Audrey). (Entered: 09/16/2008)


     10/17/2008           39     Stipulation By Mortgage Electronic Registration Systems, Inc. (MERS) and Debtors, Jeffrey S. Beier, Toni R. Beier Filed by Creditor Mortgage Electronic Registration Systems, Inc.
                                 (MERS) (Domeyer, Mark) (Entered: 10/17/2008)


     10/21/2008                  Hearing Set (RE: related document(s)34 , Motion for Reaffirmation filed by Creditor Telesis Community Credit Union) Reaffirmation date set for 11/26/2008 at 03:00 PM at
                                 Crtrm 5D, 411 W Fourth St., Santa Ana, CA 92701. (Mccall, Audrey) (Entered: 10/21/2008)


     10/21/2008                  Hearing Set (RE: related document(s)36 , Reaffirmation Agreement Between Debtor and Telesis Community Credit Union Filed by Creditor Telesis Community Credit Union)
                                 Reaffirmation date set for 11/26/2008 at 03:00 PM at Crtrm 5D, 411 W Fourth St., Santa Ana, CA 92701. (Mccall, Audrey) Modified on 10/21/2008 (Mccall, Audrey). (Entered:
                                 10/21/2008)


     10/21/2008           40     Notice of Hearing Filed by (RE: related document(s)34 Motion for Approval of Reaffirmation Agreement with Telesis Community Credit Union Filed by Creditor Telesis
                                 Community Credit Union. Hearing to be held on 11/26/2008 at 03:00 PM Crtrm 5D, 411 W Fourth St., Santa Ana, CA 92701 for 34, (Mccall, Audrey) (Entered: 10/21/2008)


     10/21/2008           41     Notice of Hearing RE: Reaffirmation Agreement 36 . Hearing to be held on 11/26/2008 at 03:00 PM RM 3-110, 411 W Fourth St., Santa Ana, CA 92701 (Mccall, Audrey)
                                 (Entered: 10/21/2008)


     11/17/2008           42     Order Granting Motion for relief from the automatic stay REAL PROPERTY (BNC-PDF) [10 Tucson, Coto De Caza, Ca. 92679] (Related Doc # 39) Signed on 11/17/2008 (Kent,
                                 Susan) (Entered: 11/17/2008)


     11/19/2008           43     BNC Certificate of Service - PDF Document. (RE: related document(s)42 , Motion for relief from the automatic stay REAL PROPERTY (BNC-PDF)) No. of Notices: 15. Service Date
                                 11/19/2008. (Admin.) (Entered: 11/20/2008)


     11/26/2008                  Hearing Held - Reaffirmation Agareement Approved (cr: mcca) (RE: related document(s)34 , Motion for Reaffirmation filed by Creditor Telesis Community Credit Union) (Kent,
                                 Susan) (Entered: 12/08/2008)


     12/01/2008           44     Declaration re: Default under Adequate Protection Order; Request for Entry of Order Granting Relief from Stay Filed by Creditor DCFS USA, LLC SUCCESSOR TO
                                 DAIMLERCHRYSLER FINANCIAL SERVICES AMERICAS, LLC (RE: related document(s)11 Notice of motion and motion for relief from the automatic stay with supporting
                                 declarations PERSONAL PROPERTY RE: 2003 MERCEDES-BENZ S500; VIN WDBNG84J63A342259 . Fee Amount $150,). (Kim, John) (Entered: 12/01/2008)


     12/01/2008           45     Order Approving Reaffirmation Agreement Signed on 12/1/2008 (RE: related document(s)36 , Reaffirmation Agreement filed by Creditor Telesis Community Credit Union).
                                 (Steinberg, Elizabeth) (Entered: 12/03/2008)




https://v2.courtdrive.com/cases/pacer/cacbke/8:08-bk-12163/dockets                                                                                                               Exhibit 5                            7/8
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                                                            Doc 22-5          Filed
                                                                       - Jeffrey Scott 05/11/23        Entered
                                                                                       Beier and Toni Renita        05/11/23 15:00:50
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     12/11/2008           46     Order Granting Motion for relief from the automatic stay PERSONAL PROPERTY (BNC-PDF) [2003 Mercedes Benz S500 Vin#WDBNG84J63A342259] (Related Doc # 11)
                                 Signed on 12/11/2008 (Kent, Susan) (Entered: 12/11/2008)


     12/13/2008           47     BNC Certificate of Service - PDF Document. (RE: related document(s)46 , Motion for relief from the automatic stay PERSONAL PROPERTY (BNC-PDF)) No. of Notices: 16.
                                 Service Date 12/13/2008. (Admin.) (Entered: 12/13/2008)


     01/13/2009           48     Bankruptcy Case Closed - DISCHARGE (Deramus, Glenda) (Entered: 01/13/2009)




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